    Case: 1:19-cv-03899 Document #: 60 Filed: 01/05/21 Page 1 of 2 PageID #:275




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ROBERT SHEAFFER,

         Plaintiff,                                           Case No. 19-cv-03899

         v.
                                                              Honorable Judge Sara L. Ellis
 GLENDALE NISSAN, INC.,

         Defendant.


                                    JOINT STATUS REPORT

       The parties, through their attorneys, submit the following Joint Status Report:

       1.       Discovery: The Plaintiff has been deposed and Plaintiff’s former supervisor, Mario

Zubek has been deposed. The parties do not anticipate any further discovery.

       2.       Motions: There are no pending motions. Defendant intends to file a motion for

partial summary judgment. Defendant requests until February 19, 2021 to file its motion

       3.       Trial: Plaintiff has requested a jury trial. The parties expect that the trial of this

matter will last approximately three days.

       4.       Settlement Discussions:      The parties have discussed settlement, but further

discussions do not appear to be fruitful at this time.
  Case: 1:19-cv-03899 Document #: 60 Filed: 01/05/21 Page 2 of 2 PageID #:276




Dated: January 5, 2021.                  Respectfully submitted,

Plaintiff ROBERT SHEAFFER                Defendant GLENDALE NISSAN, INC.

By: /s/ Eugene K. Hollander              By: /s/ Ira M. Levin
Paul W. Ryan                             Elizabeth M. Pall
The Law Offices of Eugene K. Hollander   Burke, Warren, MacKay & Serritella, P.C.
230 West Monroe, Suite 1900              330 N. Wabash Ave.
Chicago, Illinois 60606                  Suite 2100
312.425.9100                             Chicago, IL 60611
ehollander@ekhlaw.com                    312.840.7000
pryan@ekhlaw.com                         ilevin@burkelaw.com
                                         EPall@burkelaw.com
